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                       EXHIBIT 1
Case 2:21-cv-11534-PDB-APP ECF No. 1-1, PageID.13 Filed 06/30/21 Page 2 of 12
Case 2:21-cv-11534-PDB-APP ECF No. 1-1, PageID.14 Filed 06/30/21 Page 3 of 12
Case 2:21-cv-11534-PDB-APP ECF No. 1-1, PageID.15 Filed 06/30/21 Page 4 of 12
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Case 2:21-cv-11534-PDB-APP ECF No. 1-1, PageID.18 Filed 06/30/21 Page 7 of 12
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             Case 2:21-cv-11534-PDB-APPOriginal
                                          ECF      No. 1-1, PageID.20 2nd
                                                - Court
                                                                        Filed  06/30/21 Page 9 of 12
                                                                          Copy - Plaintiff
Approved, SCAO
                                                           1st Copy- Defendant                      3rd Copy -Return

           STATE OF MICHIGAN                                                                                               CASE NO.
          THIRD JUDICIAL CIRCUIT                                       SUMMONS                                           21-006837-CD
              WAYNE COUNTY                                                                                         Hon.Lita Masini Popke
Court address : 2 Woodward Ave., Detroit MI 48226                                                                         Court telephone no.: 313-224-2953

Plaintiff’s name(s), address(es), and telephone no(s)                                     Defendant’s name(s), address(es), and telephone no(s).
SHALHOUB, ROBERT                                                            v             A2MAC1, LLC

Plaintiff’s attorney, bar no., address, and telephone no

Jonathan Robert Marko 72450
1300 Broadway St Ste 500
Detroit, MI 48226-2202

Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk along with
your complaint and, if necessary, a case inventory addendum (form MC 21). The summons section will be completed by the court clerk.

 Domestic Relations Case
   There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or  family
    members of the person(s) who are the subject of the complaint.
   There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
    family members of the person(s) who are the subject of the complaint. I have separately filed a completed confidential case inventory
   (form MC 21) listing those cases.
   It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family
    or family members of the person(s) who are the subject of the complaint.

 Civil Case
   This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035
   MDHHS and a contracted health plan may have a right to recover expenses in this case. I certify that notice and a copy of the
    complaint will be provided to MDHHS and (if applicable) the contracted health plan in accordance with MCL 400.106(4).
   There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the complaint.
   A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has
      been previously filed in  this court,     ____________________________________________________ Court,
     where it was given case number __________________ and assigned to Judge __________________.

    The action       remains        is no longer pending.


   Summons section completed by court clerk.                            SUMMONS

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and serve a
    copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were served outside
     this state).
3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief demanded in the
   complaint.
4. If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter to help
    you fully participate in court proceedings, please contact the court immediately to make arrangements.

Issue date                                                  Expiration date*                         Court clerk
6/7/2021                                                    9/6/2021                                 Carlita McMiller

                                                                                                             Cathy M. Garrett- Wayne County Clerk.
*This summons is invalid unless served on or before its expiration date. This document must be sealed by the seal of the court.

MC 01 (9/19)                     SUMMONS                                    MCR 1.109(D), MCR 2.102(B), MCR 2.103, MCR 2.104, MCR 2.105
              Case 2:21-cv-11534-PDB-APP ECF No. 1-1, PageID.21 Filed 06/30/21 Page 10 of 12
                                                                                                                       SUMMONS
                                                                                                      Case No. :   21-006837-CD

                                                                PROOF OF SERVICE
TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date of
expiration on the order for second summons. You must make and file your return with the court clerk. If you are unable to complete
service you must return this original and all copies to the court clerk.

                                        CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE


                    OFFICER CERTIFICATE                                OR                 AFFIDAVIT OF PROCESS SERVER
I certify that I am a sheriff, deputy sheriff, bailiff, appointed                Being first duly sworn, I state that I am a legally competent
court officer, or attorney for a party (MCR 2.104[A][2]), and                    adult, and I am not a party or an officer of a corporate party
that: (notarization not required)                                                (MCR 2.103[A]), and that:         (notarization required)

 I served personally a copy of the summons and complaint.
 I served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
    together with _____________________________________________________________________________________________
                             List all documents served with the Summons and Complaint
_________________________________________________________________________________________________________________

_________________________________________________________________________________________________ on the defendant(s):

Defendant's name                                     Complete address(es) of service                  Day, date, time




 I have personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s) and
    have been unable to complete service.
Defendant's name                                     Complete address(es) of service                  Day, date, time




I declare under the penalties of perjury that this proof of service has been examined by me and that its contents are true to the best of my
information, knowledge, and belief.

Service fee            Miles traveled     Fee                                  Signature
$                      $                  $

Incorrect address fee Miles traveled      Fee       Total fee                  Name (type or print)
$                                         $         $
                      $
                                                                               Title
Subscribed and sworn to before me on _____________________ , _____________________________________ County, Michigan.
                                          Date
My commission expires: _____________________ Signature: ______________________________________________________
                           Date                                     Deputy court clerk/Notary public

Notary public, State of Michigan, County of ________________________________________________________________________

                                                        ACKNOWLEDGMENT OF SERVICE

I acknowledge that I have received service of the summons and complaint, together with _____________________________________
                                                                                                Attachments
_________________________________________________ on _______________________________________________________
                                                                             Day, date, time

_________________________________________________ on behalf of ______________________________________________.
 Signature
            Case 2:21-cv-11534-PDB-APP Original
                                         ECF- Court
                                                No. 1-1, PageID.22 2nd
                                                                    Filed  06/30/21 Page 11 of 12
                                                                       Copy - Plaintiff
Approved, SCAO
                                                           1st Copy- Defendant                      3rd Copy -Return

           STATE OF MICHIGAN                                                                                               CASE NO.
          THIRD JUDICIAL CIRCUIT                                       SUMMONS                                           21-006837-CD
              WAYNE COUNTY                                                                                         Hon.Lita Masini Popke
Court address : 2 Woodward Ave., Detroit MI 48226                                                                         Court telephone no.: 313-224-2953

Plaintiff’s name(s), address(es), and telephone no(s)                                     Defendant’s name(s), address(es), and telephone no(s).
SHALHOUB, ROBERT                                                            v             BUNT, FRANK

Plaintiff’s attorney, bar no., address, and telephone no

Jonathan Robert Marko 72450
1300 Broadway St Ste 500
Detroit, MI 48226-2202

Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk along with
your complaint and, if necessary, a case inventory addendum (form MC 21). The summons section will be completed by the court clerk.

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     where it was given case number __________________ and assigned to Judge __________________.

    The action       remains        is no longer pending.


   Summons section completed by court clerk.                            SUMMONS

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     this state).
3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief demanded in the
   complaint.
4. If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter to help
    you fully participate in court proceedings, please contact the court immediately to make arrangements.

Issue date                                                  Expiration date*                         Court clerk
6/7/2021                                                    9/6/2021                                 Carlita McMiller

                                                                                                             Cathy M. Garrett- Wayne County Clerk.
*This summons is invalid unless served on or before its expiration date. This document must be sealed by the seal of the court.

MC 01 (9/19)                     SUMMONS                                    MCR 1.109(D), MCR 2.102(B), MCR 2.103, MCR 2.104, MCR 2.105
              Case 2:21-cv-11534-PDB-APP ECF No. 1-1, PageID.23 Filed 06/30/21 Page 12 of 12
                                                                                                                       SUMMONS
                                                                                                      Case No. :   21-006837-CD

                                                                PROOF OF SERVICE
TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date of
expiration on the order for second summons. You must make and file your return with the court clerk. If you are unable to complete
service you must return this original and all copies to the court clerk.

                                        CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE


                    OFFICER CERTIFICATE                                OR                 AFFIDAVIT OF PROCESS SERVER
I certify that I am a sheriff, deputy sheriff, bailiff, appointed                Being first duly sworn, I state that I am a legally competent
court officer, or attorney for a party (MCR 2.104[A][2]), and                    adult, and I am not a party or an officer of a corporate party
that: (notarization not required)                                                (MCR 2.103[A]), and that:         (notarization required)

 I served personally a copy of the summons and complaint.
 I served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
    together with _____________________________________________________________________________________________
                             List all documents served with the Summons and Complaint
_________________________________________________________________________________________________________________

_________________________________________________________________________________________________ on the defendant(s):

Defendant's name                                     Complete address(es) of service                  Day, date, time




 I have personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s) and
    have been unable to complete service.
Defendant's name                                     Complete address(es) of service                  Day, date, time




I declare under the penalties of perjury that this proof of service has been examined by me and that its contents are true to the best of my
information, knowledge, and belief.

Service fee            Miles traveled     Fee                                  Signature
$                      $                  $

Incorrect address fee Miles traveled      Fee       Total fee                  Name (type or print)
$                                         $         $
                      $
                                                                               Title
Subscribed and sworn to before me on _____________________ , _____________________________________ County, Michigan.
                                          Date
My commission expires: _____________________ Signature: ______________________________________________________
                           Date                                     Deputy court clerk/Notary public

Notary public, State of Michigan, County of ________________________________________________________________________

                                                        ACKNOWLEDGMENT OF SERVICE

I acknowledge that I have received service of the summons and complaint, together with _____________________________________
                                                                                                Attachments
_________________________________________________ on _______________________________________________________
                                                                             Day, date, time

_________________________________________________ on behalf of ______________________________________________.
 Signature
